          Case 8:21-bk-11710-ES Doc 176-2 Filed 08/04/22 Entered 08/04/22 18:43:40                                                         Desc
                        Notice of Transcripts Designated for An Appeal Page 1 of 3

 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address




     Individual appearing without attorney
     Attorney for:

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - **SELECT DIVISION**                                       DIVISION

 In re:

                                                                             CASE NO.:
                                                                             CHAPTER: **Select Chapter**
                                                                             ADVERSARY NO.:
                                                                             (if applicable)
                                                                             DATE NOTICE OF APPEAL FILED:
                                                                             DATE NOTICE OF CROSS APPEAL FILED:
                                                             Debtor(s).      APPEAL DOCKET ENTRY NO.:




                                                            Plaintiff(s),
                                   vs.                                                    NOTICE OF TRANSCRIPT(S)
                                                                                         DESIGNATED FOR AN APPEAL




                                                        Defendant(s).

Notice is given to the court and other parties in interest that the following action was taken:

      I do not intend to designate any portion of the transcript(s).

      I requested a copy of the transcript(s).
      1. Hearing date (specify)                          and time (specify)                          of transcript requested.
         Date (specify)                         transcript was requested.

      2. Hearing date (specify)                          and time (specify)                          of transcript requested.
         Date (specify)                         transcript was requested.

            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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        3. Hearing date (specify)                        and time (specify)                          of transcript requested.
           Date (specify)                       transcript was requested.

        4. Hearing date (specify)                        and time (specify)                          of transcript requested.
           Date (specify)                       transcript was requested.

        5. Hearing date (specify)                        and time (specify)                          of transcript requested.
           Date (specify)                       transcript was requested.


        I intend to designate the following transcript(s) previously docketed:
        1. Hearing date (specify)              of designated transcript.
           Docket entry number of designated transcript (specify)

        2. Hearing date (specify)              of designated transcript.
           Docket entry number of designated transcript (specify)

        3. Hearing date (specify)              of designated transcript.
           Docket entry number of designated transcript (specify)

        4. Hearing date (specify)              of designated transcript.
           Docket entry number of designated transcript (specify)

        5. Hearing date (specify)              of designated transcript.
           Docket entry number of designated transcript (specify)




Date:
                                                                                  Printed name of law firm


                                                                                  _____________________________________________
                                                                                  Signature

                                                                                  _____________________________________________
                                                                                  Printed name

                                                                                  _____________________________________________
                                                                                  Attorney for (specify)


 Instructions
 This Notice cannot be used to order a transcript. To order a transcript, use the court approved Transcript Order Form on
 the court’s website at www.cacb.uscourts.gov/transcripts.

 This Notice must be served on opposing counsel and filed with the court within 14 days of the filing of the Notice of Appeal.




            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy of the foregoing document entitled: NOTICE OF TRANSCRIPT(S) DESIGNATED FOR AN
APPEAL will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
              , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 Date                          Printed Name                                                      Signature


            This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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